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 7                         UNITED STATES DISTRICT COURT
 8                      CENTRAL DISTRICT OF CALIFORNIA
 9   LINDSY SAARLOOS, individually           Case No. 5:24-cv-02058-KK-SP
10   and on behalf of all others similarly
     situated,                               [PROPOSED] ORDER GRANTING
11                                           MOTION FOR ATTORNEYS’
                            Plaintiff,       FEES, COSTS AND EXPENSES
12                                           AND SERVICE AWARD
           v.
13                                           Hon. Kenly Kiya Kato
14   THE COWBOY CHANNEL, LLC,
15
                            Defendant.
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     [PROPOSED] ORDER
     CASE NO. 5:24-CV-02058-KK-SP
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 1         The Court, having reviewed the papers filed in support of Plaintiffs’ Motion
 2   for Attorneys’ Fees, Costs and Expenses, and Service Award and good cause
 3   appearing therefore, the motion is hereby GRANTED and it is ORDERED as
 4   follows:
 5         1.     The Court awards $250,000 in attorneys’ fees and $7,145.92 in costs,
 6   and expenses to Bursor & Fisher, P.A., who is Class Counsel in this action.
 7         2.     The Court awards $5,000 to Plaintiff Lindsy Saarloos as a service award
 8   for her participation in this matter.
 9         3.     Defendant shall pay the above attorneys’ fees, costs and expenses, and
10   incentive awards pursuant to and in the manner provided by the terms of the
11   Settlement Agreement.
12         IT IS SO ORDERED.
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     DATED:
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                                             HONORABLE KENLY KIYA KATO
15                                           United States District Judge
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     [PROPOSED] ORDER                                                                 1
     CASE NO. 5:24-CV-02058-KK-SP
